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UNITED STATES DISTRICT COURT

Western District of Texas
EL PASO DIVISION

UNITED STATES OF AMERICA *

Vv, Case Number EP-11-CR-2724 PRM

USM Number 84506-280
Robert A. Trujillo,

TN: ROBERT ADRIAN TRUJILLO

Defendant.

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant, Robert A. Trujillo, TN: ROBERT ADRIAN TRUJILLO, was represented by Robert Ramos.
The defendant was found guilty to Count 1 of the Indictment after a Court verdict on June 7, 2012. Accordingly, the

defendant is adjudged guilty of such Count, involving the following offense:

Title & Section Nature of Offense Offense Ended Count

 

21 USC 841 Possession w/intent to distribute a controlled 40-12-2011 1
substance, to-wit: cocaine > 500 grams

As pronounced on August 28, 2012, the defendant is sentenced as provided in pages 2 through 7 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984 and Enhanced Penalties as set forth by the
Information filed November 9, 2011.

It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
Judgment are fully paid. If ordered to pay restitution, the defendant shall notify the Court and United States Attorney of any
material change in the defendant's economic circumstances.

Signed this the ___ 28th ___ day of August, 2012.

 

 
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AO 245 B (Rev. 06/05)(W.D.TX.) - Imprisonment

Judgment--Page 2
Defendant: Robert A. Trujillo, TN: ROBERT ADRIAN TRUJILLO
Case Number: EP-11-CR-2724 PRM

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
one-hundred and twenty (120) months with credit for time served while in custody for this federal offense.

The Court makes the following recommendations to the Bureau of Prisons:

That the defendant participate in the (500 hour) Comprehensive Drug Treatment program while incarcerated.

The defendant shall remain in custody pending service of sentence.

RETURN

| have executed this Judgment as follows:

 

 

 

 

Defendant delivered on to

at _ with a certified copy of this Judgment.

United States Marshal

By
Deputy Marshal
Case 1:19-cr-00509-REB Document1-1 Filed 12/06/19 USDC Colorado Page 3 of 7

Case 3:11-cr-02724-PRM Document 109 Filed 08/28/12 Page 3 of 7
AO 245 B (Rev. 06/05)(W.D.TX.) - Supervised Release

Judgment--Page 3
Defendant: Robert A. Trujillo, TN: ROBERT ADRIAN TRUJILLO
Case Number: EP-11-CR-2724 PRM

SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of eight (8) years.

While on supervised release, the defendant shall comply with the mandatory and standard conditions that have been
adopted by this Court.
AQ 245 B (Rev, 05/04)(W.D.TX.) - Supervised Release

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Case 3:11-cr-02724-PRM Document 109 Filed 08/28/12 Page 4 of 7

Judgment--Page 4

Defendant: Robert A. Trujillo, TN: ROBERT ADRIAN TRUJILLO
Case Number: EP-11-CR-2724 PRM

CONDITIONS OF SUPERVISION

Mandatory Conditions:

1) The defendant shall not commit another federal, state, or local crime during the term of supervision.

2) The defendant shall not unlawfully possess a controlled substance.

3) The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
15 days of release on probation or supervised release and at least two periodic drug tests thereafter (as determined by the court)
for use of a controlled substance, but the condition stated in this paragraph may be ameliorated or suspended by the court if the
defendant's presentence report or other reliable sentencing information indicates low risk of future substance abuse by the
defendant.

4) In supervised release cases only, the defendant must report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

5) If convicted of a felony, the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
weapon.

6) The defendant shall cooperate in the collection of DNA as directed by the probation officer, if the collection of such a sample is
authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 14135a).

7) If convicted of a sexual offense and required to register under the Sex Offender and Registration Act, that the defendant comply
with the requirements of the Act.

8) ‘If convicted of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall participate in an approved
program for domestic violence.

9) If the judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with the
Schedule of Payments sheet of the judgment.

Standard Conditions:

1) The defendant shall not leave the judicial district without permission of the court or probation officer.

2) The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.

3) The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.

4) The defendant shall support his or her dependents and meet other family obligations, and shall comply with the terms of any
court order or order of an administrative process requiring payments by the defendant for the support and maintenance of a child
or of a child and the parent with whom the child is living.

5) The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons.

6) The defendant shall notify the probation officer at least ten days prior to any change in residence or employment.

7) The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphemalia related to any controlled substances, except as prescribed by a physician.

8) The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

9) The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation officer.

10) The defendant shall permit a probation officer to visit him or her at any time, at home or elsewhere, and shall permit confiscation

11)

of any contraband observed in plain view of the probation officer.

The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer.
AO 245 B (Rev. 05/04)(W.D.TX,) - Supervised Release

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Judgment--Page 5

Defendant: Robert A. Trujillo, TN; ROBERT ADRIAN TRUJILLO
Case Number: EP-11-CR-2724 PRM

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The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
the permission of the court.

As directed by the probation officer, the defendant shall notify third parties of risks that my be occasioned by the defendant's
criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications, and to
confirm the defendant's compliance with such notification requirement.

If convicted of a sex offense as described in the Sex Offender Registration and Notification Act or has a prior conviction of a
State or local offense that would have been an offense as described in the Sex Offender Registration and Notification Act ifa
circumstance giving rise to federal jurisdiction had existed, the defendant shall participate in a sex offender treatment program
approved by the probation officer. The defendant shall abide by all program rules, requirements and conditions of the sex
offender treatment program, including submission to polygraph testing, to determine if the defendant is in compliance with the
conditions of release. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
amount to be determined by the probation officer, based on the defendant's ability to pay.

The defendant shall submit to an evaluation for substance abuse or dependency treatment as directed by the probation officer,
and if deemed necessary by the probation officer, the defendant shall participate in a program approved by the probation officer
for treatment of narcotic addiction or drug or alcohol dependency which may include testing and examination to determine if the
defendant has reverted to the use of drugs or alcohol. During treatment, the defendant shall abstain from the use of alcohol and
any and all intoxicants. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
amount to be determined by the probation officer, based upon the defendant's ability to pay.

The defendant shall submit to an evaluation for mental health counseling as directed by the probation officer, and if deemed
necessary by the probation officer, the defendant shall participate in a mental health program approved by the probation officer.
The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount to be determined by
the probation officer, based upon the defendant's ability to pay.

The defendant shall participate in a cognitive behavioral treatment program as directed by the probation officer, and if deemed
necessary by the probation officer. Such program may include group sessions led by a counselor or participation in a program
administered by the probation office. The defendant may be required to contribute to the cost of the services rendered
(copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

The defendant shall participate in workforce development programs and services as directed by the probation officer, and if
deemed necessary by the probation officer, which include occupational/career development, including but not limited to
assessment and testing, education, instruction, training classes, career guidance, job search and retention services until
successfully discharged from the program. The defendant may be required to contribute to the cost of the services rendered
(copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

If the defendant is excluded, deported, or removed upon release on probation or supervised release, the term of supervision shall
be a non-reporting term of probation or supervised release. The defendant shall not illegally reenter the United States. If the
defendant lawfully reenters the United States during the term of probation or supervised release, the defendant shall immediately
report in person to the nearest U.S. Probation Office.

If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pay such penalties
in accordance with the Schedule of Payments sheet of the judgment.

If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
supervision that the defendant shall provide the probation officer access to any requested financial information.

If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval of the
probation officer, unless the defendant is in compliance with the payment schedule.
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AO 245 B (Rev. 06/05)(W.D.TX.) - CMP

Judgment--Page 6

Defendant: Robert A. Trujillo, TN: ROBERT ADRIAN TRUJILLO
Case Number: EP-11-CR-2724 PRM

CRIMINAL MONETARY PENALTIES/ SCHEDULE

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments as
determined by the Court. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment
of criminal monetary penalties is due during imprisonment. Criminal Monetary Penalties, except those payments made through
Federal Bureau of Prisons’ Inmate Financial Responsibility Program shall be paid through the Clerk, United States District
Court, 525 Magoffin Avenue, Room 105, El Paso, Texas 79901.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Assessment Fine Restitution
TOTAL: $100.00 $1,000.00 $0

Special Assessment

It is ordered that the defendant shall pay to the United States a special assessment of $100.00. Payment of this sum
shall begin immediately.

Fine

The defendant shall pay a fine of $1,000.00. Payment of this sum shall begin immediately.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or
percentage payment cotumn above. However, pursuant to 18 U.S.C. § 3664(i}, all non-federal victims must be paid before the United States is paid.

if the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.

The defendant shall pay interes! on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of
the judgment, pursuant to 18 U.S.C, §3612(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

Payments shall ba applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.

Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Tille 18 for offenses committed on or after September 13, 1994,
but before April 23, 1986.
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Defendant: Robert A. Trujillo, TN: ROBERT ADRIAN TRUJILLO
Case Number: EP-11-CR-2724 PRM

DENIAL OF FEDERAL BENEFITS
(For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

IT IS ORDERED that the defendant shall be ineligible for all federal benefits for a period of ten (10) years ending
August 28, 2022.

Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security,
health, disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services

are required for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to: U.S.
Department of Justice, Office of Justice Programs, Washington, DC 20531
